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                               IN TH UNITED STATES BANKRUPTCY COURT
                                           FOR THE DISTRICT OF DELA WARE

In re:                                                                                )
                                                                                      )
W. R. GRACE & CO., et al.                                                             )        Chapter 11
                                                                                      )
                                    Debtors.                                          )        Case No. 01-01139 (JKF)
                                                                                      )        (Jointly Administered)

                                                                                      ) Re: Docket Nos. 23724,23866,24249
                                                                                      ) 4/19/10 Agenda No. 15



     ORDER DISALLOWING AND EXPUNGING ASBESTOS PROPERTY
   DAMAGE CLAIM NUMBERS 011627 AND 012476 AS BARRED BY BRITISH
           COLUMBIA'S ULTIMATE LIMITATIONS PERIOD

            AND NOW, this _ day of                                                   , 2010, upon the record established at the

trial held before this Court on April 19,2010 and for the reasons set forth in the Court's April                                  14,

2009 Memorandum Opinion (Docket No. 21270), it is hereby ORDERED, ADJUDGED, and

DECREED that claim numbers 011627 and 012476 are hereby disallowed and expunged as

bared by British Columbia's 30-year ultimate limitations period.



                                                                                    The Honorable Judith K. Fitzgerald
                                                                                    United. States Banptcy Judge




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